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VS.
CR. NO. 05-20122-D
AARON B. COBB
Defendant.

The Court granted the motion and reset the trial date to October 3, 2005 with a

report date of Thurss¢:la)[l September 22l 2005l at 9:00 a.m., in Courtroom 3, 9th Floor

of the Federal Bui|ding, Memphis, TN.

 

The period from September 16, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for
additional time to prepare outweigh the need for a speedy trial.

lT ls so oRDERED this,§O""\day ofAugust, 2005.

 

|TED ST);\TES D|STRICT JUDGE

UNITD sATES DISTRIC COURT - ESTE DISITRCT OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:05-CR-20122 Was distributed by faX, mail, or direct printing on
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Honorable Sarnuel Mays
US DISTRICT COURT

